Case 1:21-cv-01137-SDG Document 1-1 Filed 03/19/21 Page 1 of 20




             Exhibit “A”
         Case 1:21-cv-01137-SDG Document 1-1 Filed 03/19/21 Page 2 of 20                CLERK OF STATE COUP
                                                                                    GWINNETT COUNTY, GEORGI
                                                                                              21-C-00428-S
                                                                                          1/19/2021 9:46 Pf

                     IN THE STATE COURT OF GWINNETT COUNTY
                                                                                         CLERK OF STATE COUR
                                STATE OF GEORGIA

 MONICA VELASQUEZ,

 Plaintiff.

 vs.                                                Civil Action FiltNo.: 21-C-0042B-S6

 ANN TAYLOR RETAIL, INC.,

 AND

 JOHN DOES I D,

 Defendants.

                                           COMPLAINT

        COMES NOW Plaintiff Monica Velasquez, by and through her undersigned counsel of

record, and files this Complaint for damages against the above-named Defendants, and shows this

Honorable Court as follows:

                                       BACKGROUND

                                               1.

        This is an action for the damages sustained by Plaintiff Monica Velasquez arising out of

bum injuries sustained due to a dangerous hazard that was alkwed to exist on the premises at the

clothing retailer known as Ann Taylor located at 3675 Dallas Highway SW, Marietta, Cobb

County, Georgia 30064, on January 19, 2019.

                                               2.

        On or about July 23, 2020. Aseena Retail Group, Inc. filed for Chapter 11 bankruptcy In

the United States Bankruptcy Court for the Eastern District of Virginia, Richmond Division, Case

No. 20-33113. At the time of the subject incident, Ann, Inc. operated as a subsidiary of Aseena

Retail Group, Inc., and is the parent company of Ann Taylor.
        Case 1:21-cv-01137-SDG Document 1-1 Filed 03/19/21 Page 3 of 20




                                                 3.

       On December 21,2020, PlaintitY filed a Notice and Motion for Relief from the Automatic

Stay. An Order granting said Joint Motion is expected imminentiy. A true and correct copy of the

Motion is attached hereto and incorporated herein as Exhibit A.

                                            PARTIES

                                                 4.

       Plaintiff was at all times relevant to the instant litigation a citizen and domiciliary of the

State of Georgia.

                                                 5.

       Defendant Ann lay lor Retail, inc. (hereinafter “Ann Taylor’) is a ibreign corporation

organized and existing for the purpose of pecuniary gain and profit.

                                                 6.

        Ann Taylor may be served with Summons and Complaint upon its registered agent.

Corporation Service Company, at 40 Technology Parkway South, Suite 300, Norcross, Gwinnett

County, Georgia 30092.

                                                 7.

       Once served with Summons and Complaint, Ann Taylor will be subject to the jurisdiction

and venue of this Honorable Court.

                                                 8.

       Defendants John Does l-II are persons whose identity arc currently unknown, but through

the course of discovery, may become known to the Plaintiff. Defendants John Does ITI were

employees and/or agents of Defendant Ann Taylor at the time of the subject incident




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         Case 1:21-cv-01137-SDG Document 1-1 Filed 03/19/21 Page 4 of 20




                                                  9.

        Once the identities of Defendants John Docs I-II are known, they will be substituted in

place of John Does 1-11, and once served with Summons and Complaint, will be subject to the

jurisdiction and venue of this Honorable Court.

                                   JUHISDICTON AND VENUE

                                                  10.

        Plaintiff incorporates by reference, as if fully set forth herein, paragraphs 1 through 9 of

her Complaint in their entirety.

                                                  11.

        This action is based upon Defendants’ negligence for a tort committed within the State of

Georgia at 3625 Dallas Highway SW, Marietta, Cobb County, Georgia 30064. This Court has

jurisdiction over the subject matter of this lawsuit.

                                                  12.

        Venue is proper in this judicial district and division as to Defendants based on O.C.G.A. §

14-2-510, O.C.G.A. § 9-10-91, and O.C.G.A. § 9-10-31.

                                               FACTS

                                                  13.

        Plaintiff incorporates by reference, as if fully set forth herein, paragraphs 1 through 12 of

her Complaint In their entirety.

                                                  14.

        At all times relevant hereto, Plaintiff Monica Velasquez was an invitee of Defendant Ann

Taylor, located at 3625 Dallas Highway SW, Marietta, Georgia 30064.




                                                   3
        Case 1:21-cv-01137-SDG Document 1-1 Filed 03/19/21 Page 5 of 20




                                                15.

       On January 19. 2019, Plaintiff was shopping at clothing retailor Ann Taylor, located at

3625 Dallas Highway SW, Marietta, Georgia 30064,

                                                16.

       On January 19, 2019, as Plaintiff traversed the premises and meandered through the racks

examining the clothing, and wearing a long-sleeve jacket, she felt a searing pain on her left

forearm, and discovered she had been burned by the steam of a portable garment steamer that had

been left on and abandoned amongst the clothing racks.

                                                17.

       Plaintiff did not know of the existence of the hazardous and/or dangerous condition until

after she had been burned.

                                                18.

       From the time Plaintiff entered Ann Taylor and until the time she was injured, there were

no signs, barriers or any kind of warnings near the location at which Plaintiff was burned to warn

Plaintiff of the dangerous condition that existed where she traversed.

                                                19.

       Plaintiffs bum resulted in bodily injury.

                                                20.

   As a result of Defendants’ negligence, Plaintiff sustained injuries, including, but not limited to

the following:

   a. Second-degree bum, left forearm;

   b. Post-inflammatory hyperpigmentation, left forearm; and

   c. Pain, left forearm.




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        Case 1:21-cv-01137-SDG Document 1-1 Filed 03/19/21 Page 6 of 20




                                                21.
       As a result of Defendants’ negligence, Plaintiff underwent medical treatment. Despite the

best efforts of the medical community. Plaintiff' suffers from residual effects from the injuries

sustained as a result of Defendants’ negligence.

                                                22.

       Plaintiff has also incurred pain and suffering, both past and present, which is anticipated to

continue into the indefinite future.

                                                23.

       As a direct and proximate result of the Defendants negligence as set forth above. Plaintiff

sustained bodily injury', endured and continues to endure pain and suffering, and incurred medical

expenses.

                                   COUNT J - NEGLIGENCE

                                                24.

       Plaintiff incorporates by reference, as if fully set forth herein, paragraphs 1 through 23 of

her Complaint in their entirety.

                                                25.

       Defendants owed a duty of ordinary care to Plaintiff to notify and warn her of the hazardous

and/or dangerous condition that existed on the premises of Ann Taylor.

                                                26.

       Defendants knew or should have known of the existence of the hazardous and/or dangerous

condition, and therefore w ere aware of the hazard that existed to persons entering Ann Taylor.

                                                27.

       As a result of hazardous and/or dangerous condition dial existed on the premises of Ami

Taylor, Defendants wrere negligent in the following particulars:


                                                   5
        Case 1:21-cv-01137-SDG Document 1-1 Filed 03/19/21 Page 7 of 20




       a. Failure to exercise ordinary care in keeping the premises and approaches sate pursuant

           to O.C.Ct.A. § 51-3-1;

       b. Failure to protect invitees from harm and injury;

       c. Failure to notify Plaintiff of the hazardous conditions that existed in the area;

       d. Failure to notice a hazardous condition that existed in tire area;

       e. Creating or allowing a hazardous condition to exist by not unplugging or moving the

           portable garment steamer away from customer approaches on the premises of clothing

           retailer Ann Taylor;

       f. Failure to post warning or other notices so Plaintiff and other such situated invitees

           knew of the dangerous condition; and

       g. Failure to remedy or give warning to invitees such as Plaintiff of a dangerous condition.

                  COUNT II - RESPONDEAT SUPERIOR AND AGENCY

                                                 28.

       Plaintiff incorporates by reference, as if fully set forth herein, paragraphs numbered 1

through 27 of her Complaint in their entirety.

                                                 29.

       Defendants John Does l-II acted negligently while in the course and scope of their

employment and/or agency' with Defendant Ann Taylor.

                                                 30.

       Under Georgia law, the acts of a servant are the acts of the master and thus Defendant Ann

Taylor is responsible for the negligent and wrongful acts of Defendants John Does I-II.




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        Case 1:21-cv-01137-SDG Document 1-1 Filed 03/19/21 Page 8 of 20




                                                 31.

       Georgia law places a duty on a business owner to protect against negligence committed by

an employee of the business owner when tire employee commits a tortious act while in the

execution and scope of the owner’s business.

                                                 32.

       Every employer shall be liable for torts committed by a servant by7 Ills command on in the

course and scope of the employer’s business, whether the same is committed intentionally or

negligently.

                                                 33.

       Under Georgia law , an employer is responsible for torts committed by his employee when

the employee does not exercise an independent business and is subject to the immediate direction

and control of the employer.

 COUNT     m - NEGLIGENT HIRING. TRAINING. SUPERVISION AND RETENTION
                                                 34.

       Plaintiff incorporates by reference, as if set fully set forth herein, paragraphs numbered 1

through 33 of her Complaint in their entirety.

                                                 35.

       Defendant Ann Tay lor had a duty to retain its employees and/or agents in a reasonable and

prudent manner.

                                                 36.

       Defendant Ann Taylor also had a duty of ordinary care to the public in general and to

Plaintiff Monica Velasquez to hire, train and supervise its employees and/or agents to ensure the




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        Case 1:21-cv-01137-SDG Document 1-1 Filed 03/19/21 Page 9 of 20




appropriate standard of care was adhered to with respect to the performance of maintaining safe

approaches on the premises lor customers*




       WHEREFORE, Plaintiff prays for the following:


       a. That a Summons and Complaint be issued requiring Defendants be served as provided

           by law requiring Defendants to answer this Complaint;

       b. That Plaintiff have a trial by a fair and impartial jury as provided by law;

       c> That PlaintiiT obtain a judgment against Defendants in a sum in excess of $15,000 to

           compensate her for her general and special damages; and

       d. For such other relief as this Honorable Court deems just and proper.



This the 19*h day of January* 2021.

                                                             Respectfully submitted,




                                                             Kathryn F. Blrmetster
                                                             Georgia State Bar No. 367424

Burmeister Law Firm, LLC
300 Colonial Center Parkway, Suite 100
(770)450-1155
(478) 238-0598 (fax)
kathry n@biirmeisterla vvfi rm. coni




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                 Case 1:21-cv-01137-SDG Document 1-1 Filed 03/19/21 Page 10 of 20                           CLERK OF STATE COUF
                                                                                                        GWINNETT COUNTY, GEORGI
                                                                                                                  21-C-00428-S
                               IN THE STATE COURT OF GWINNETT COUNTY
                                                                                                              1/19/2021 9:46 PF

                                                   STATE OF GEORGIA
                                                                                                                             COUP
MONICA VELASQUEZ


                                                                                     CIVIL ACTION
                                                                                     NUMBER:____
                                                                                                  21-C-00428-S5

                                     PLAINTIFF


                      VS.
ANN TAYLOR RETAIL, INC.

JOHN DOES I II



                                     DEFENDANT




                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:

  You are hereby summoned and required to flic with the Clerk of said court and serve upon the TlaintifTs attorney, whose name
and address is:

KATHRYN F. BURMEISTER, ESQ.
BURMEISTER LAW FIRM
300 COLONIAL CENTER PARKWAY, SUITE 100
ROSWELL, GA 30076
an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint

This     19TH               day of               JANUARY                      2021     .

                                                                            Tiana P. Garner
                                                                           Clerk of State Court




                                                                                           Deputy Oc

INSTRUCTIONS: Attach addendum sheet fur additional parties if needed, make nutation on this sheet if addendum sheet ts used.

SC-1 Rev- 2011
       /■'
                     Case 1:21-cv-01137-SDG Document 1-1 Filed 03/19/21 Page 11 of 20                              CLERK GF STATE COUF
                                                                                                               GWINNETT COUNTY, GEORGI

                            General Civil and Domestic Relations Case Filing Information Form                                21-C-0Q428-S
                                                                                                                         1M 9/2021 9:46 PF
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             For Clerk Use Only

             Date Filed                                           Case Number
                                                                                   21-C-00428-S5
                              MM-DD-YYYY

Plalntiff(s)                                                       Defends nt(s)
VELASQUEZ, MONICA                                                   ANN TAYLOR RETAIL, INC
Last               First            Middle L    Suffix   Prefix     Last             First         Middle I.   Suffix        Prefix
                                                                    JOHN DOES Ml
Last               First            Middle I.   Suffix   Prefix     Last             First         Middle I.   Suffix        Prefix


Last                First           Middle L    Suffix   Prefix     Last             First         Middle I.   Suffix        Prefix


Last                First           Middle I.   Sufftx   Prefix     Last             First         Middle L    Suffix        Prefix

Plaintiff's Attorney KATHRYN F. BURMEISTER, ESQ.                     Bar Number      367424              Self-Rep resented P

                                                  Check One Case Type in One Box

             General Civil Cases                                           Domestic Relations Cases
             □       Automobile Tort                                       □       Adoption
             □       Civil Appeal                                          □       Dissolution/Divorce/Separate
             □       Contract                                                      Maintenance
             U       Garnishment                                           □        Family Violence Petition
             171     General Tort                                          U       Paternity/Legitimation
             □       Habeas Corpus                                         □        Support-1V-D
             □       Injunction/Mandamus/Other Writ                        □        Support - Private (non-IV-D)
             □       Landlord/Tenant                                       □       Other Domestic Relations
             n       Medical Malpractice Tort
             □       Product Liability Tort                                Post-Judgment - Check One Case Type
             □        Real Property                                        □       Contempt
             n       Restraining Petition                                      □    Non-payment of child support,
             □       Other General Civil                                            medical support, or alimony
                                                                           □       Modification
                                                                           □       Other/Administrative

□            Check if the action is related to another action(s) pending or previously pending in this court involving some or all
             of the same parties, subject matter, or factual issues. If so, provide a case number for each.


                      Case Number                                  Case Number

B            I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
             redaction of personal or confidential information in O.C.G.A. 5 9-11-7.1.

□            Is an interpreter needed in this case? If so, provide the language(s) required.          _________________
                                                                                                 Language(s) Required


□            Do you or your client need any disability accommodations? If so, please describe the accommodation request



                                                                                                                               Version LITE
       Case 1:21-cv-01137-SDG Document 1-1 Filed 03/19/21 Page 12 of 20                   CLERK OF STATE COUP
                                                                                      GWINNETT COUNTY, GEGRGI
                                                                                                21-C-00428-S
                                                                                            2/16/2021 4:03 At

                     IN THE STATE COURT OF GWINNETT COUNTY
                                S TATE OF GEORGIA

MONICA VELASQUEZ,

Plaintiff.

vs.                                                  Civil Action File No.: 21-C-00428-S5

ANN TAYLOR RETAIL, INC.,

AND

JOHN DOES MI,

 Defendants.

                                    AMENDED COMPLAINT

       COMES NOW Plaintiff Monica Velasquez, by and through her undersigned counsel of

record, files this Amended Complaint pursuant to O.C.G.A, § 9-11-15 and 11 U.S, Code § 108(c),

and shows this Honorable Court as follows:

                                       BACKGROUND

                                                1.

       This is an action for the damages sustained by Plaintiff Monica Velasquez arising out of

burn injuries sustained due to a dangerous hazard that was allowed to exist on the premises at the

clothing retailer known as Ann Taylor located at 3675 Dallas Highway SW, Marietta, Cobb

County, Georgia 30064, on January 19,2019.

                                                2.

       On or about July 23, 2020, Aseena Retail Group, Inc. filed for Chapter II bankruptcy in

the United States Bankruptcy Court for the Eastern District of Virginia, Richmond Division, Case

No. 20-33113. At the time of the subject incident, Ann, Inc. operated as a subsidiary of Ascena

Retail Group, Inc., and is the parent company of Ann Taylor.
       Case 1:21-cv-01137-SDG Document 1-1 Filed 03/19/21 Page 13 of 20




                                                 3.

       On December 21,2020, Plaintiff filed a Notice and Motion for Relief from the Automatic

Stay. An Order granting said Joint Motion is expected imminently. A true and correct copy of the

Motion is attached hereto and incorporated herein as Exhibit A.

                                                 4.

       On January 19, 2021, Plaintiff filed the instant action. A true and correct copy of the

Complaint is attached hereto and incorporated herein as Exhibit B.

                                                 5.

       On January 21, 2021. the Joint Motion for Relief from the Automatic Stay was granted. A

true and correct copy of the Order is attached hereto and incorporated herein as Exhibit C.

                                            PARTIES

                                                 6.

       Plaintiff incorporates by reference, as if fully set forth herein, paragraphs 1 through 5 of

her Amended Complaint in their entirety.

                                                 7.

       Plaintiff was at all times relevant to the instant litigation a citizen and domiciliary of the

State of Georgia,

                                                 8.

       Defendant Ann Taylor Retail, Inc. {hereinafter “Ann Taylor”) is a foreign corporation

organized and existing for the purpose of pecuniary gain and profit.




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       Case 1:21-cv-01137-SDG Document 1-1 Filed 03/19/21 Page 14 of 20




                                                  9.

        Ann Taylor may be served with Summons and Complaint upon its registered agent

Corporation Sendee Company, at 40 Technology Parkway South. Suite 300, Norcross, Gwinnett

County, Georgia 30092.

                                                  10.

        Once served with Summons and Complaint, Ann Taylor will be subject to the jurisdiction

and venue of this Honorable Court.

                                                  11.

        Defendants John Does l-II are persons whose identity are currently unknown, but through

the course of discovery, may become known to the Plaintiff. Defendants John Does Til were

employees and/or agents of Defendant Ann Taylor at the time of the subject incident.

                                                  12.

        Once the identities of Defendants John Docs I-U are known, they will be substituted in

place of John Does I-II, and once served with Summons and Complaint, will be subject to the

jurisdiction and venue of this Honorable Court.

                                  JUKISDICTON AND VEN UE

                                                  13.

        Plaintiff incorporates by reference, as if fully set forth herein, paragraphs 1 through 12 of

her Amended Complaint in their entirety.

                                                  14.

        This action is based upon Defendants’ negligence for a tort committed within the State of

Georgia at 3625 Dallas Highway SW, Marietta, Cobb County, Georgia 30064. This Court has

jurisdiction over the subject matter of this lawsuit.




                                                  3
       Case 1:21-cv-01137-SDG Document 1-1 Filed 03/19/21 Page 15 of 20




                                                15,

       Venue is proper in this judicial district and division as to Defendants based on O.C.G.A. §

14-2-510,0.C.G.A. § 9-10-91, and O.C.G.A. § 9-10-31.

                                             FACTS

                                                16.

       Plaintiff incorporates by reference, as if fully set forth herein, paragraphs 1 through 15 of

her Amended Complaint in their entirety.

                                                17.

       At all times relevant hereto, Plaintiff Monica Velasquez was an invitee of Defendant Ann

Taylor, located at 3625 Dallas Highway SW, Marietta, Georgia 30064.

                                                18.

       On January 19, 2019, Plaintiff was shopping at clothing retailer Ann Taylor, located at

3625 Dallas Highway SW, Marietta, Georgia 30064.

                                               20.

       On January 19,2019, as Plaintiff traversed the premises and meandered through the racks

examining the clothing, and wearing a long-sleeve jacket, she felt a searing pain on her left

forearm, and discovered she had been burned by the steam of a portable garment steamer that had

been left on and abandoned amongst the clothing racks.

                                               21.

       Plaintiff did not know of the existence of the hazardous and/or dangerous condition until

after she had been burned.




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       Case 1:21-cv-01137-SDG Document 1-1 Filed 03/19/21 Page 16 of 20




                                                  22.

       From the time Plaintiff entered Ann Taylor and until the time she was injured, there were

no signs, barriers or any kind of warnings near the location at which Plaintiff was burned to warn

Plaintiff of the dangerous condition that existed where she traversed.

                                                  23.

        Plaintiffs burn resulted in bodily injury.

                                                  24.

    As a result of Defendants’ negligence, Plaintiff sustained injuries, incl riding, but not limited to

the following:

    a. Second-degree bum, left forearm;

   b. Post-inflammatory hyperpigmentation, left forearm; and

    c. Pain, left forearm.

                                                  25.

       As a result of Defendants’ negligence, Plaintiff underwent medical treatment. Despite the

best efforts of tire medical community, Plaintiff suffers from residual effects from the injuries

sustained as a result of Defendants’ negligence.

                                                  26.

       Plaintiff has also incurred pain and suffering, both pasl and present, which is anticipated to

continue into the indefinite future.

                                                  27.

       As a direct and proximate result of the Defendants negligence as set forth above, Plaintiff

sustained bodily injury', endured and continues to endure pain and suffering, and incurred medical

expenses.




                                                     5
      Case 1:21-cv-01137-SDG Document 1-1 Filed 03/19/21 Page 17 of 20




                                  COUNT I - NEGLIGENCE

                                                28.

       Plaintiff incorporates by reference, as if fully set forth herein, paragraphs 1 through 27 of

her Amended Complaint in their entirety.

                                                29.

       Defendants owed a duty of ordinary' care to Plaintiff to notify and warn her of the Iwardous

and/or dangerous condition that existed on the premises of Ann Taylor.

                                                30.

       Defendants knew or should have known of the exi stcncc of the hazardous and/or dangerous

condition, and therefore were aware of the hazard that existed to persons entering Ann Taylor.

                                                31.

       As a result of hazardous and/or dangerous condition that existed on the premises of Ann

Taylor, Defendants were negligent in the following particulars:

       a. Failure to exercise ordinary care in keeping the premises and approaches safe pursuant

           to O.C.G.A. §51-3-1;

       b. Failure to protect invitees from harm and injury;

       c. Failure to notify Plaintiff of the hazardous conditions that existed in the area;

       d. Failure to notice a hazardous condition that existed in the area;

       e. Creating or allowing a hazardous condition to exist by not unplugging or moving the

           portable garment steamer away from customer approaches on the premises of clothing

           retailer Ann Taylor;

       f. Failure to post warning or other notices so Plaintiff and other such situated invitees

           knew of the dangerous condition; and




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       Case 1:21-cv-01137-SDG Document 1-1 Filed 03/19/21 Page 18 of 20




       g. Failure to remedy or give warning to invitees such as Plaintiff of a dangerous condition.

                 COUNT II - RESPONDEAT SUPEKIOR AND AGENCY

                                                32.

       Plaintiff incorporates by reference, as if fully set forth herein, paragraphs numbered 1

through 27 of her Amended Complaint in their entirety.

                                               33.

       Defendants John Docs I-II acted negligently while in the course and scope of their

employment and/or agency with Defendant Ann Taylor.

                                               34.

       Under Georgia law , the acts of a servant arc the acts of the master and thus Defendant Ann

Taylor is responsible for the negligent and wrongful acts of Defendants John Docs I-II.

                                               35.

       Georgia law places a duly on a business owner to protect against negligence committed by

an employee of the business owner when the employee commits a tortious act while in the

execution and scope of the owner’s business.

                                               36.

       Every employer shall be liable for torts committed by a servant by his command on in the

course and scope of the employer’s business, whether the same is committed intentionally or

negligently.

                                               37.

       Under Georgia law, an employer is responsible for torts committed by his employee when

the employee does not exercise an independent business and is subject to the immediate direction

and control of the employer.




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       Case 1:21-cv-01137-SDG Document 1-1 Filed 03/19/21 Page 19 of 20




 COUNT lil ■ NEGLIGENT HIRING. TRAINING. SUPERVISION AND RETENTION

                                                38.

       Plaintiff incorporates by reference, as if set fully set forth herein, paragraphs numbered 1

through 37 of her Amended Complaint in their entirety.

                                                39.

       Defendant Ann Taylor had a duty to retain its employees and/or agents in a reasonable and

prudent manner.

                                                40.

       Defendant Ann Taylor also had a duty of ordinaiy care to the public in general and to

Plaintiff Monica Velasquez to hire, train and supervise its employees and/or agents to ensure the

appropriate standard of care was adhered to with respect to the performance of maintaining safe

approaches on the premises for customers.

       WHEREFORE, Plaintiff prays for the following:


       a. That a Summons and Complaint be issued requiring Defendants be served as provided

           by law requiring Defendants to answer this Complaint;

       b. That Plaintiff have a trial by a fair and impartial jury as provided by law;

       c. That Plaintiff obtain a judgment against Defendants in a sum in excess of $15,000 to

           compensate her for her general and special damages; and

       d. For such other relief as this Honorable Court deems just and proper.




                                   Signature on following page




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      Case 1:21-cv-01137-SDG Document 1-1 Filed 03/19/21 Page 20 of 20




This the 12th day of February, 2021.




                                               Respectfully submitted,




                                               KATI tRYN F, RlIRMEISTER
                                               Georgia State Bar No. 367424

Burmeister Law Firm, LLC
300 Colonial Center Parkway, Suite 100
(770)450-1155
(478)238-0598 (fax)
katlirvn@ b urmeistcrl awfi nine om




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